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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF HAWAI`I

                                              )
 PACIFIC HELICOPTER                           )
 TOURS, INC., a Hawaii limited                )
 liability company,                           )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )      Civ. No. 19-00295 ACK-RT
                                              )
 DRAGONFLY AVIATION, LLC,                     )
 a Texas limited liability company,           )
                                              )
                Defendant.                    )
                                              )

  ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATION TO
    DENY SPECIALLY APPEARING RESPONDENT DRAGONFLY AVIATION, LLC'S
             MOTION FOR ATTORNEYS' FEES AND COSTS (ECF 28)

        Findings and Recommendation having been filed and served on all parties on May 27,

 2020, and no objections having been filed by any party,

        IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28, United States

 Code, Section 636(b)(1)(C) and Local Rule 74.1, the Findings and Recommendations are

 adopted as the opinion and order of this Court.



        IT IS SO ORDERED.

                DATED: Honolulu, Hawai`i, June 15, 2020.



                                          ________________________________
                                          Alan C. Kay
                                          Sr. United States District Judge


 Pacific Helicopter Tours, Inc. v. Dragonfly Aviation, LLC, Civ. No. 19-00295-ACK-RT, Order
 Adopting Magistrate Judge’s Findings and Recommendation to Deny Specially Appearing
 Respondent Dragonfly Aviation, LLC’s Motion for Attorneys’ Fees and Costs (ECF 28)
